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                                                       38TH FLOOR ONE OXFORD CENTRE PITTSBURGH, PA 15219
                                                                              412.263.2000   FAX: 412.263.2001
                                                                                    WWW.PIETRAGALLO.COM
                                                                                DIRECT DIAL NO.: 412.263.1818
                                                                           DIRECT FAX DIAL NO.: 412.263.4200
                                                                                           FILE: CLIFFS-119238
                                                                                   E-MAIL: WP@Pietragallo.com


                                               July 3, 2025

VIA CM/ECF

The Honorable Marilyn J. Horan
United States District Court Judge
Joseph F. Weis, Jr. U.S. Courthouse
700 Grant Street, Courtroom 8A
Pittsburgh, PA 15219

         Re:      U. S. Steel Corp. et al. v. Cleveland-Cliffs Inc. et al., No. 2:25-cv-00015

Dear Judge Horan:

We write on behalf of Defendants Cleveland-Cliffs Inc. and Lourenco Goncalves (together,
“Cliffs”) to request adjournment of the Status Conference scheduled on Monday, July 7 to
Tuesday, July 8, or the earliest date convenient to the Court.

Cliffs’ lead counsel has an unavoidable conflict on July 7 that requires attendance in Greenbelt,
MD at an in-person hearing before United States District Judge Paula Xinis in Abrego Garcia et
al. v. Noem et al., No. 25-cv-951-PX (D. Md.). Andrew Rossman will be appearing on behalf of
Mr. Abrego Garcia in a hearing on (i) Defendants’ Motions to Dismiss [ECF Nos. 165 & 200] and
(ii) Plaintiffs’ Emergency Motion for an Order to Return Kilmar Armando Abrego Garcia to the
District of Maryland After Release in the Tennessee Criminal Proceedings [ECF No. 203].

All parties consent to the requested adjournment and are working to confirm availability should
the Court be unavailable on July 8. The parties are happy to provide their availability to the Court
or otherwise will work at the Court’s convenience however possible.

                                                        Very truly yours,

                                                        /s/ William Pietragallo, II
                                                        William Pietragallo, II
WPII/leg
#11541524.1


CC:               Andrew J. Rossman, Esq.
                  Steig D. Olson, Esq.
                  Owen F. Roberts, Esq.
                  Mario O. Gazzola, Esq.


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